Case 8:20-cv-00637-DOC-ADS Document 81 Filed 05/01/23 Page 1lof1 Page ID #:1428

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

Case No. SACV 20-00637-DOC-(ADSx): Date May 1, 2023

Title Robert Cohen v. Conagra Brands, Inc.

PRESENT:
HONORABLE DAVID O. CARTER, UNITED STATES DISTRICT COURT JUDGE

Rolls Royce Paschal Debbie Hino-Spaan
Court Reporter

Deputy Clerk

 

ATTORNEYS PRESENT FOR PLAINTIFF: ATTORNEYS PRESENT FOR DEFENDANT:

Marc Godino Angela Spivey
Gretchen Elsner

MOTION FOR LEAVE TO APPEAL RE: ORDER ON MOTION TO
DISMISS CASE [73]

SCHEDULING CONFERENCE

PROCEEDINGS:

Case called. Court and counsel confer. The Court takes the Motion for Leave to

Appeal re: Order on Motion to Dismiss Case [73] under submission.

 

 

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Initials of Deputy Clerk = rrp
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CIVIL MINUTES - GENERAL Page 1 of 1

 

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